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    6 (additionally and erroneously sued and served as "LOS
        ANGELES COUNTY + UNIVERSITY OF CALIFORNIA
    7 MEDICAL CENTER"), LOS ANGELES COUNTY SHERIFF
        DEPARTMENT, UNIVERSITY OF SOUTHERN
    8 CALIFORNIA, JOHN L. SCOTT, ARTHUR PRYOR, M.D.,
        and ROLAND VALENZUELA, M.D.
    9

   10                                      UNITED STATES DISTRICT COURT
   11             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   12

   13 JEFFREY KOVACS,                                                            Case No. 2:15-cv-04557 SVW (PJWx)
                                                                                 [District Judge Stephen V. Wilson;
   14                        Plaintiff,                                          Magistrate Judge Patrick J. Walsh]
   15             v.
                                                                                 STIPULATION FOR DISMISSAL
   16 COUNTY OF LOS ANGELES, a                                                   WITH PREJUDICE AS TO
        public entity; LOS ANGELES                                               ALL CLAIMS OF PLAINTIFF
   17 COUNTY + UNIVERSITY OF                                                     JEFFREY KOVACS AGAINST
        SOUTHERN CALIFORNIA                                                      DEFENDANTS COUNTY OF LOS
   18 MEDICAL CENTER, a public entity;                                           ANGELES, LOS ANGELES
        LOS ANGELES COUNTY SHERIFF                                               COUNTY + UNIVERSITY OF
   19 DEPARTMENT, a public entity; CITY                                          SOUTHERN CALIFORNIA
        OF LOS ANGELES, an incorporated                                          MEDICAL CENTER, LOS
   20 municipality; LOS ANGELES POLICE                                           ANGELES COUNTY SHERIFF’S
        DEPARTMENT, a department of the                                          DEPARTMENT, UNIVERSITY OF
   21 City of Los Angeles; UNIVERSITY OF                                         SOUTHERN CALIFORNIA,
        SOUTHERN CALIFORNIA, a private                                           SHERIFF JOHN L. SCOTT,
   22 university; JOHN L. SCOTT, as an                                           DR. ARTHUR PRYOR, and
        individual and in his official capacity;                                 DR. ROLAND VALENZUELA
   23 CHARLES L. BECK, as an individual
        and in his official capacity; ARTHUR                                     Pursuant to Fed. R.Civ.P 41
   24 PRYOR, as an individual and in his                                         (a)(1)(A)(ii)
        official capacity; ROLAND
   25 VALENZUELA, as an individual and
        in his official capacity; DOES 1 through
   26 50, Inclusive,                                                             Complaint Filed: 4/16/15
                                                                                 Answer Filed: 6/11/15
   27                        Defendants.
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    1 TO THE HONORABLE COURT:

    2             IT IS HEREBY STIPULATED, by and between plaintiff JEFFREY
    3 KOVACS ("plaintiff") and defendants COUNTY OF LOS ANGELES, LOS

    4 ANGELES COUNTY + UNIVERSITY OF SOUTHERN CALIFORNIA

    5 MEDICAL CENTER, LOS ANGELES COUNTY SHERIFF’S DEPARTMENT,

    6 UNIVERSITY OF SOUTHERN CALIFORNIA, SHERIFF JOHN L. SCOTT, DR.

    7 ARTHUR PRYOR, and DR. ROLAND VALENZUELA, by and through their

    8 respective attorneys of record, that defendants COUNTY OF LOS ANGELES, LOS

    9 ANGELES COUNTY + UNIVERSITY OF SOUTHERN CALIFORNIA

   10 MEDICAL CENTER, LOS ANGELES COUNTY SHERIFF’S DEPARTMENT,

   11 UNIVERSITY OF SOUTHERN CALIFORNIA, SHERIFF JOHN L. SCOTT, DR.

   12 ARTHUR PRYOR, and DR. ROLAND VALENZUELA ("defendants") be

   13 dismissed with prejudice from this action by plaintiff pursuant to Fed. R. Civ.P

   14 41(a)(1)(A)(ii).

   15             IT IS HEREBY FURTHER STIPULATED, by and between plaintiff and
   16 defendants, that this dismissal constitutes a general mutual release of all claims and

   17 a mutual waiver of all costs, court fees, and attorneys’ fees arising out of this

   18 litigation between these aforementioned parties.
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    1             It is further agreed by and between the parties that this stipulation may be
    2 signed in counterpart and that a facsimile or electronic signature will be as valid as

    3 an original signature.

    4             IT IS SO STIPULATED.
    5

    6 Dated: December 6, 2016                                      CALLAHAN, THOMPSON, SHERMAN &
    7
                                                                   CAUDILL, LLP

    8
                                                                   By:           /s/ Lee A. Sherman
    9
                                                                           Lee A. Sherman, Esq.
   10                                                                      Attorneys for Plaintiff
   11                                                                      JEFFREY KOVACS

   12

   13 Dated: December 6, 2016                                      MANNING & KASS
   14                                                              ELLROD, RAMIREZ, TRESTER LLP
   15

   16                                                              By:            /s/ Mildred K. O'Linn
                                                                           Mildred K. O'Linn, Esq.
   17                                                                      Attorneys for Defendants
   18                                                                      COUNTY OF LOS ANGELES
                                                                           (additionally and erroneously sued and
   19                                                                      served as "LOS ANGELES COUNTY +
   20                                                                      UNIVERSITY OF CALIFORNIA
                                                                           MEDICAL CENTER"), LOS ANGELES
   21                                                                      COUNTY SHERIFF DEPARTMENT,
   22                                                                      UNIVERSITY OF SOUTHERN
                                                                           CALIFORNIA, JOHN L. SCOTT,
   23
                                                                           ARTHUR PRYOR, M.D., and ROLAND
   24                                                                      VALENZUELA, M.D.
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